Case 2:24-cv-09330-SVW Document10_ Filed 01/24/25 Page1of13 Page ID #:29

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES DIVISION CLELK, US. DISTRICT COURT
JAN 2 4 2095
aE ee eae DISTRICT OF ae Gtons
we VWJAZ DEPUTY
Petitioner, a
Vv. Case No. 2:24-cv-09330-SVW

UNITED STATES OF AMERICA,
Respondent.

AMENDED PETITION FOR WRIT OF ERROR CORAM NOBIS

COMES NOW, Andrew Tate, proceeding Pro Se Defendant,
moving this Honorable Court pursuant to 28 U.S.C. Section 1651, thus,
respectfully requesting that this Court GRANT Tate’s Pro Se Petition for

Writ of Error Coram Nobis based upon the foregoing:

Statement of Facts

On January 17, 2002, Petitioner Tate was charged by Criminal

1|Page

Case 2:24-cv-09330-SVW Document10- Filed 01/24/25 Page2of13 Page ID #:30

Complaint (Doc. # 1), and the same day he was arrested by federal
authorities on January 29, 2002 (Doc. # 2). On February 05, 2002, a
federal Grand Jury returned a one-count Indictment against Andrew
Tate (Doc. # 8). On August 05, 2002, Mr. Tate plead guilty to Count
1, Felon In Possession of a Firearm (Doc. # 34 and 35). On November
13, 2002, the sentencing court sentenced Mr. Tate to 110 months of
imprisonment followed by three.(3) years of supervised release (Doc. #
43 and 44). A timely Notice of Appeal was filed on November 21,
2002 (Doc. #45), and a limited resentencing hearing was conducted
on January 29, 2007 (Doc. # 70), the same sentence stands. No further
post-conviction proceedings were filed in the case herein.

Andrew Tate is in federal custody, however, the said conviction
herein for Count 1, Felon In Possession of a Firearm has long expired
and the only remedy to challenge his EXPIRED federal conviction is

via a Coram Nobis in the matter herein.
Jurisdiction

Petitioner Tate, contends that a Petition of Writ of Error Coram
Nobis maybe filed as a remedy of last resort, the writ of error coram
nobis is granted only where an error is “of the most fundamental

character” and there exists no other available remedy, see United States

2|Page

Case 2:24-cv-09330-SVW Document10 Filed 01/24/25 Page3of13 Page ID#:31

v. Keane, 852 F.2d 199 (7® Cir. 1988): and United States v. Delhorno,
915 F.3d 449 (7" Cir. 2019). The writ is narrowly limited to
‘extraordinary’ cases presenting circumstances compelling its use ‘to
achieve justice’. United States v. Denedo, 556 U.S. 904, 129 S. Ct. 2213,
2220 (2009) (quoting United States v. Morgan, 346 U.S. 502, 511
(1954).

Burden of Proof

As aremedy of last resort, the writ of error coram nobis is granted
only where an error is “of the most fundamental character” and there
exists no other available remedy. United States v. Mandel, 862 F.2d
1067, 1075 (4" Cir. 1988). The writ is narrowly limited to
“ extraordinary’ cases presenting circumstances compelling its use ‘to
achieve justice.’” United States v. Denedo, 556 U.S. 904, 129 S. Ct.
2213, 2220, 173 L. Ed. 2d 1235 (2009) (quoting United States v.
Morgan, 346 U.S. 502, 511, 74 8. Ct. 247, 98 L. Ed. 248 (1954)). Thus,
the writ provides relief in cases where the error “rendered the proceeding
itself irregular and invalid.” United States v. Addonizio, 442 U.S. 178,
186, 99 S. Ct. on other grounds). A petitioner seeking this relief must
show that “(1) a more usual remedy is not available; (2) valid reasons
exist for not attacking the conviction earlier; (3) adverse consequences
exist from the conviction sufficient to satisfy the case or controversy
requirement of Article III; and (4) the error is of the most fundamental
character.” Hirabayashi v. United States, 828 F.2d 591, 604 (9" Cir.

3/Page

Case 2:24-cv-09330-SVW Document10 Filed 01/24/25 Page4of13 Page ID #:32

1987). Thus, Petitioner Tate, asserts that he will now establish the four
requirements to be entitled to relief via Writ of Error Coram Nobis in the

matter herein.
Discussion

A petitioner seeking this relief must show that (1) a more usual
remedy is not available, see United States v. Keane, 852 F.2d 199 (7%
Cir. 1988);

Petitioner Tate, states that a 2255 Motion to Vacate is unavailable
to him consistent with the ADEPA and as the result of Andrew Tate
“no longer” being in federal custody as to this expired federal sentence
he may not file a 2241 Writ of Habeas Corpus Petition and even if he
was after the U.S. Supreme Court’s Ruling in Jones v. Hendrix, supra
that would still net be possible, thus, Mr. Tate has no other remedy
available to him at this point in the case herein.

(2) valid reasons exist for not attacking the conviction earlier, see United
States v. Keane, 852 F.2d 199 (7" Cir. 1988);

Petitioner Tate, asserts that he was sentenced to 110 months
of imprisonment as to Count 1, Felon In Possession of a Firearm and

the reason as to why this “actually innocent” claim could not be raised

A|Page

Case 2:24-cv-09330-SVW Document10 Filed 01/24/25 Page5of13 Page ID #:33

earlier was because it is grounded in an intervening change in law

by the U.S. Supreme Court in New York State Rifle & Pistol Ass’n v.
Buren, 142 S. Ct. 2111, 2122 (2022), and the Ninth Circuit’s Ruling in
__FA® 2024 U.S. App. LEXIS 11323, 2024 WL 2068016 (9"
Cir. May 9, 2024) (holding that Section 922 (g) (1) is “unconstitutional”
in violation of Second Amendment rights of the U.S. Constitution). As
the result of this Ninth Circuit Ruling being handed down on May 09,
2024, thus, it. could not have been filed when a timely 2255 Motion to
Vacate was due in consistent with the AEDPA statute of limitations
period or because considering Jones v. Hendrix, supra., Mr. Tate cannot
file a 2241 Habeas Corpus Petition under the savings clause. This is all
the reasoning that justifies as to why the issue was not raised earlier in
the case herein.

(3) adverse consequences exist from the conviction sufficient to satisfy
the case controversy requirement of Article III, see U.S. v. Kwan, 407

F.3d at 1014 (9" Cir. 2005);
Petitioner Tate, contends that he is serving a 144-month term of
imprisonment for Conspiracy to Distribute and to Possess with Intent

to Distribute Methamphetamine, Cocaine, and Cocaine Base to date in

5|Page

Case 2:24-cv-09330-SVW Document10 Filed 01/24/25 Pageéof13 Page ID #:34

the criminal cause of action of: USA v. Tate, Case No. 2:20-cr-00543-
SB-1, and the prior federal criminal cause of action is Count 1, Felon
in Possession of a Firearm in violation of 18 U.S.C. 922 (g) (1), and
this prior federal conviction was utilized to enhance Mr. Tate’s federal
sentence. Mr. Tate’s adverse consequences exist from the conviction
sufficient to satisfy a live case or controversy requirement of Article II
in case at bar.
(4) the error is the most fundamental character, see Hirabayashi v.
United States, 828 F.2d at 604 (9 Cir. 1987);

Petitioner Tate, asserts that this Honorable Court should VACATE
his conviction as to Count One, Felon in Possession of a Firearm, thus, a

Coram Nobis relief is required to “achieve justice,” see Denedo, 129 S.

Ct. at 2220, as his Count 1, Felon In Possession of a Firearm is
“unconstitutional” in violation of his Second Amendment rights of the
U.S. Constitution. See United States v. Duarte, =. FA® ——, 2024
U.S. App. LEXIS 11323, 2024 WL 2068016 (9" Cir. May 9, 2024)
(the Ninth Circuit held that Section 922 (g) (1) violates the Second

Amendment of the U.S. Constitution and is “unconstitutional.”). A

6|Page

Case 2:24-cv-09330-SVW Document10 Filed 01/24/25 Page7of13 Page ID #:35

fundamental character exist as to the error in which warrants granting
Writ of Error Coram Nobis Petition in the matter herein. See United
States v. Akinsade, 686 F.3d 248, 256 (4 Cir. 2012) (The Fourth
Circuit held the district court abused its discretion by failing to grant
the petition for writ of error coram nobis and vacate Akinsade’s
conviction. Based upon an intervening change in law. VACATED &
REMANDED) (emphasis added).

CONCLUSION

In conclusion, Petitioner Tate, concludes that this Honorable Court
should VACATE his conviction as to Felon In Possession of a Firearm
as he stands “actually innocent” of Section 922 (g) (1) charge to not
vacating the conviction would constitute a clear miscarriage of justice.

It follows that such prior conviction is having a lingering collateral
consequence due to being utilized to enhance his current federal

sentence in the case at bar.

Respectfully submitted,

Date: 0|/ [¥ /25 , Wt tow

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Case 2:24-cv-09330-SVW Document10_ Filed 01/24/25 Page 8of13 Page ID #:36

Mr. Andrew Tate

# 23607-112
FCI-Victorville Medium # 1
P.O. Box 3725

Adelanto, CA. 92301

8|Page

Case 2:24-cv-09330-SVW Document10_ Filed 01/24/25 Page9of13 Page ID #:37

Certificate of Service

I, Andrew Tate, certify that on Jo ju. Y |Z fA 2025, I mailed by

U.S. 2-Day Priority Mail the original copy of my Petition for Writ of
Error Coram Nobis, to this Honorable Court and one copy to the

opposing party listed below herein:

U.S. Attorney’s Office
Criminal Division

312 N. Spring Street

Los Angeles, CA. 90012-4700

Date: U( //5 / 325 /s/ Nntl2ete- {2
Mr. Andrew Tate

Pro Se Petitioner

9| Page

Case 2:24-cv-09330-SVW Document10_ Filed 01/24/25 Page10o0f13 Page ID #:38

To: Clerk of the Court
RE: Tate v. USA, Case No.
2:24-cv-09330-SVW

Dear Clerk of the Court,

Greetings and my name is Mr. Andrew Tate # 23607-112, and |
am Currently confined at FCl-Victorville Medium # 1 in Adelanto,
California.

Please find enclosed my Amended Petition For Writ of Error
Coram Nobis and please file in the above-captioned case herein.
Please note that “a petition for the writ of error coram nobis is a
step in the original criminal proceedings, not the beginning of a
separate civil action,” see Yasui v. United States, 772 F.2d 1496,
1499 (9"" Cir. 1985). Please consider filing this matter in the original
criminal proceedings Clerk of the Court as it is not a separate civil
action (emphasis added).

Sincerely,

Date: Ol /_1¥ /a5 , bideu Tele

Mr. Andrew Tate

# 23607-112
FCl-Victorville Medium # 1
P.O. Box 3725
Case 2:24-cv-09330-SVW Document10 Filed 01/24/25 Page1lof13 Page ID #:39

Adelanto, CA. 92301

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